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                               IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF ARKANSAS
                                         WESTERN DIVISION


UNITED STATES OF AMERICA                                                            Judge : Bill Wilson
counsel: Pat Harris                                                              Reporter: C. Newburg
counsel:                                                                            Clerk: M. Johnson
                                                                                           Interpreter:
         vs                                                                          USPO: R. Hollins

KEITH HOLMES
counsel: Jerry Larkowski
counsel:                                                                           Date: April 29, 2008

                                                                   CASE NO: 4:04CR00169-19-WRW


                    COURT PROCEEDING: Supervised Release Revocation Hearing

Begin: 3:40 p.m.                                                                         End: 3:50 p.m.

Court calls case and reviews to present; deft admits alleged violations; Court finds violations occurred;
motion to revoke GRANTED; BOP 10 MONTHS; residential substance abuse treatment; mental health
counseling, no supervised release to follow.


Court in recess.




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